Case 1:01-cv-12257-PBS Document 443-2 Filed 07/28/03 Page 1 of 25

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY
AVERAGE WHOLESALE PRICE
LITIGATION

THIS DOCUMENT RELATES TO
ALL CLASS ACTIONS

MDL No. 1456

CIVIL ACTION: 01-CV-12257-PBS
Judge Patti B. Saris

FILED UNDER SEAL

AMENDED MASTER CONSOLIDATED CLASS ACTION COMPLAINT

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Case 1:01-cv-12257-PBS Document 443-2 Filed 07/28/03

TABLE OF CONTENTS

Page 2 of 25

Page
l INTRODUCTION 00... cece cece sete ceeecesecevestes sescecscseecnsapsessissseecascasuseueuavaceevavevaveetensessagaeeees I
Il. JURISDICTION AND VENUE 0.00. cccccccceesecssesssseseesscesesseensesseaesececcoesescessecapseseeensesneassseeees 7
THT, PART TES ooo eee ccecesenescscececeeeesneeeneesvenseacasetansenseacaesesegseecoesasacsnesesaraeceussssissssseutcseseaceeseersee 8
A. Plaintiffs... 8
B. Defendant ...........2...c2cecscceccesescssnneesnacacuesesssresesestesesentegeatsocentansaeseassssssavacescseesnevevere 13
1. ADDO occ ee cece e cee tees canan rer seseatecesscaesesucasenecsesceacegcenarsseceesaysausesanssaancoesees 13
2 ATTIBON. 0... esceseseseseeseseseenseneeseecssacascescnvsuseasecenvasaeavseessatsnsscssateasseseacstecescsnsees LA
3. ASUTAZOTIOCA «0... ce ces ceneeceeeessccceceeevnsceeeesenansecensseessensassssceneesaeseentesiensrereeranet 14
4 The Aventis Group (Aventis, Pharma, Hoechst and Behring) 15
5. Baxter ooo. ceccscescsecceeccececceeeesecsegeseasensesssscceenssaensescccsecceccsceseearseaeseaes 16
6. Baye occ cccecceececa rest enansasercceconseeseseceeceeseeseateeesgeeqsneeuaseasesaetcsececeseecees 17
7. The Boehnnger Group (Boehringer, Ben Venue, Bedford) 1B
8. BAUD... cs cesceeeseeesceesesneseesencecceceecocesneesusstaneessatesseeaueveneessaeancsccesaseunesees 19
9. The BMS Group (Oncology Therapeutics; Apothecon).................. 19
10. Dey, II C....cccesccecccesececcesceccesessessesesactasgeecsaenssnvensseeseeanesasesecocsecceessecsesareereD
11. The Fujisawa Group (Fujisewa Healthcare, Fujisawa USA)......0..0.0000-22
12. The GSK Group (GlaxoSmithKline, SmithKline Beecham,
Glaxo WellCOME) ........cccccccccessssecescescesenseescecnseceseeccuseeeesenaeeseataes 22
13. Hoffman-LaRoche, Enc. ooo. eee esecceeceneee ease cees sents nusessavasesncceeees 23
VA, IMMER 0c cee cccetee cee tee eee seeeeseeesuaeaceegaeesaetantangasansesvesccecsceseeees 24
15. The Johnson & Johnson on Group Oe &J, Centocor, Janssen,
NeNeil, Ortho}... - sesee wee 25
V6. NOVAartis.....scsseceeeeeeeeeeeessetsesesecesesescoavarseateceatseseesarseseseesatseeasseseesenees 26
17. Pfizer, LC. 0.0... sec ceeescesecccceeessaneveesuuaesenssanecessuseesassaseasececcesseseeeneceenese 26
AMENDED MASTER CONSOLIDATED -i-
CLASS ACTION COMPLAINT

1534.16. 0846 BSC DOC

Case 1:01-cv-12257-PBS Document 443-2 Filed 07/28/03 Page 3 of 25

18. The Pharmacia Group (Pharmacia and Pharmacia & Upjohn).............0...- 27
19. The Schering-Plough Group (Schering Plough & Warrick)...0.....0.0.0.00..-.28
20. The Sicor Group (Sicor and Gensia).......ccccececccccccssseessstecseceeseceseeeseececaeses 29
2b. TAR Leese cesta tescescecsesearsnecaesonenscanseesessansssaesacceessessusesescaseasenavacetitsaseacecets 30
22. WatsOM «eee cece cece etc ecescneeeesatsevsceststansneneceusecnsenceseesepsenersvsensestacseeeseenenntaee 30
23. Together Rx oo ececceeescccecesessescneceeaceeseensevscersnarsceesansecesearerscgtecetssneraeed
IV. GENERAL ALLEGATIONS APPLICABLE TO ALL DEFENDANTS........0..0-:ccs 31
A. The A WP Systern........ccccccccceccccccessensenvressassevacsccuesuececsesensarcccsucesuavavsnscsuassseseeceece 31
B. The Defendant Drug Manufacturers Commit AWP Fraud to Increase
Market Share For Their Drugs Covered by Medicare Part Boo... eeeeeecceceee 33
1. The Medicare Insurance Program ...........sesesescessssssscensescacsuscecseenseeseecenseces 33
2. Congressional and Other Federal Investigations and ActionS...................37
3. Certain of the Defendants Drug Manufacturers’ Fraudulent
Conduct Within the Medicare Part B Program... iscecessescseressececeeenes 38
C. The Defendant Drug Manufacturers’ Use of AWP Fraud to Increase
and Maintain the Price of Drugs Outside of the Medicare Part B Context............ 40
D. The Defendant Drug Manufacturers’ Use of AWP Fraud to Increase
and Maintain Volume and Market Share For Generic and Multi-Source
E. Defendants’ Concealment of the Truth...........--.cccsescsssssseesssesseeesessstececseseesenenanes 49
F. Tolling of Applicable Statutes of Limitation ........0.ccccccccsssccusccecscsceccesessasarenseseeaes 50
V. EXAMPLES OF SPECIFIC UNLAWFUL CONDUCT... .ccccccceseecscssssesccestesneesenaesvsees 50
A. ADDO on. c eee ceee ee seseeee tetas teneeaseeeceneenssneeceaesessesaersesa¢eanseasessessanseenceceseneereere 50
1. Abbott Has Been The Target of Government Investigations.....................52
2. Abbott Controls the Published AWP for Its Products ..0.....c.ccc0cccccceeeeeseee 53
3. Abbott’s AWP Manipulation Benefited Providers at the Expense
Of the Class... cece ccseccecensseeeeeseseeentcecseeesoeesaeseeneseessesccecsecsegesssnregeeeneeea 53
4. Specific Abbott AWPs Documented by the DOJ _.0. ooo. ee ceeetceeseeteees 54
5. Additional Evidence Concerning Vancomycin ...............cceeecccseereeeeeeee 55
AMENDED MASTER CONSOLIDATED -Lli-
CLASS ACTION COMPLAINT
1534.16 0048 BSC.DOC

Case 1:01-cv-12257-PBS Document 443-2 Filed 07/28/03 Page 4 of 25

6. Additional Evidence for Amikacin .......c.ccccccccesccceecscssessareesecavensessesesneaees 56
7. Inflated AWPs From Abbott Price Lists ..0...000.......cccsesssseceseeceseeesesesesseseee 56
B ATOQOD nsec cece cece ec seceeneesenaeceecacaenscseseseesccaasgusaesesscaesacaccccssstsereseceteracacsensesences 58
1. Amgen’s Definition and Understanding of AWP.............0...ccceccecseseeeeeee 9
2. Amgen Controls the Published AWP for Its Products. ........cccccsssecseccsseseee 59
3. Amgen’s A WP Manipulation Benefited Providers at the
Expense of the Chass o.oo... cessceeseesssescesececeseseeeecceseeassssesceesesecesensensetaveaes 59
4. Amgen Provided Free Goods and Other Incentives oo... eecececceecees 60
5. Amgen Concealed Its AWP Manipulation ..00....0....0..ecceecsseeeeeceeceseeneece 61
Cc ASTIAZOMOCA 0... cece eects scanseecececenensssesesneseseeseaeccecssssoesesesursevevaeseensavataecesueessesene 62
1. AstraZeneca Has Been the Target of a Government Investigation............ 63
2. AstraZeneca’s Definition and Understanding of AWP. ............. «63
3. AstraZeneca Controls the Published AWP for Its Products ......................64
4, AstraZeneca’s AWP Manipulation Be Benefited Providers at the
Expense of the Class.. cecravaceanesaeeees ...64
D. The Aventis Group (Aventis, Pharma, Hoechst and Behring)............0.0.0..cese- 70
l. Aventis Has Been the Target of Govemmment Investigations..................... 72
2 Aventis’ Definition and Understanding of AWP...........0..-..c2:cecsssessseeeseeaes 72
3. Aventis Controls the Published AWP for Its Products .0.0...0...eccssseceen 73
4 Aventis” AWP Manipulation Benefited Providers at the Expense
Of the CASS... cess te eee scenecsnessesssencessessssscceeseseeacsecsscepevavavansantasnsnassceeeges 73
5. Specific Aventis AWPs Documented by the DOJ .0..........ccceesesrcesesenseene 75
6. Additional Evidence Concerning Anzemet ...............:ccsscsssssssereeseseeseseseees 76
7. Additional Evidence Concerning Gammiar.............cccccccssssssccccareestsaneccseese 77
8. Inflated AWPs From Aventis’ Price Lists .00.........cccccssscccscssscssecseceseevereenes 78
9. Aventis Concealed its AWP Manipulation «oo... eecssecceeeceeeeecereese 79
AMENDED MASTER CONSOLIDATED - iii -
CLASS ACTION COMPLAINT

1534.16 0046 BSC.DOC

Case 1:01-cv-12257-PBS Document 443-2 Filed 07/28/03 Page 5 of 25

E. Baxter... cccceccccecccnsseecseenecaeesessssessusnesuesassnssessesasssavaesecesscsenessscseseensneeaeneeaenesensars 79
1. Baxter Has Been the Target of Government Investigations ..............0.0... 81
2. Baxter’s Definition and Understanding of AWP ...........cccccccscccsessseesecene 81
3. Baxter Controls the Published AWP for its Products ..........0::000:cccee01-B2
4. Baxter’s AWP Manipulation Benefited Providers at the Expense
Of the Class... eeeseeeseceeccesescceseseeeseneeeseaeseseneenscscscosttiesecseceeceseteseesevenaenees 82
5 Specific Baxter AWPs Documented by the DOJ... 0... ceeecsceeeene eee BS
6. Evidence Concermng Gammagard S/D (immune globulin solution)........ 84
7. Inflated AWPs From Baxter’s Price Lists ....0......cccccccccccsessceseessecseeeeeeesceees 84
Baxter Provided Free Goods and Other incentives............. 86
F, BAYOL o.ceneecesesccesceeneneersenensensensusensesceescenseseeaesneseeaesceaeeeeceeycoesceneneneantannes¢aususuaneasasies 86
1, Bayer Has Been the Target of Government Investigations ....................... 87
2. Bayer Controls the Published AWP for Its Products ......cccccsccseceereecees 88
3. Bayer’s AWP Manipulation Benefited Providers at the Expense
Of the Class... ee eeeeenessesesseeceseececocsesesseeeesseseacseessneseecesseceatanerseeneascassens 88
4, Specific Bayer AWPs Documented by the DOJ..........ceccseeneeceeeeseeecee 89
5. Inflated AWPs From Bayer’s Price Lists...........cccc:cccsccsssussseesrsssssreseeneeses 90
6. Bayer Provided Free Goods and Other Incentives..............ccc:ccssecssssssseseces 90
7. Bayer Concealed Its AWP Manipulation.................---sssceeecereeeserscerenereeeeee DL
G. The Boehringer Group ..........0.cs-ececeesesececceceeceseeecseceesnesenesestaeseeeeseeatsarsesssevecsecnusea 91
L. The Boehringer Group Has Been the Target of Government
Investigations ............ ccc cu sescssesensesssssssseesesserseteeeesesorarsessaenaeasseseasseneeeseess 92
2. The Boehringer Group Controls the Published AWP for Its Products ......92
3. Specific Boehringer AWPs Documented by the DOJ «00... cc eeceeeeeees 95
4. Inflated Boehringer Group A WPs From Bedford’s Price Lists............00. 96
H. By. Brann 000s eee cece ee ce ese ce csaeeecnenevensancecossaescesceserseseseeecoeccesseseeasessseesessesseaqeseen 96
l. B. Braun Has Been the Target of Government Investigations................... 97
AMENDED MASTER CONSOLIDATED -iv-
CLASS ACTION COMPLAINT
1534.16 0046 BSC.DOC

Case 1:01-cv-12257-PBS Document 443-2 Filed 07/28/03 Page 6 of 25

2. B. Braun’s Understanding of AWP ooo... cccseeccscsesscsscesecsceereccrerenserstaes
3. B. Braun Controls the Published AWP for Its Products...
4. B. Braun’s AWP Manipulation Benefited Providers at the
Expense of the Class 0.0... cseecssesssssssssssssscssssecsossveeseceecensenssseseusessancansacecs
5. Specific B. Braun AWPs Documented by the DOJ... eee seeeeeneee
6. Inflated AWPs From B. Braun Price Lists...............ccceccccssesesescecveceneseseee
L The BMS Group (Bnstol-Myers, OTN and Apothecom).....0.... eee ceeeeesesceeceee
1. The BMS Group Has Been the Target of Government
IMVeStIgatiONS ..... ne. eee ececescenseessececeesncosstecnsenesecssscensesdeneusersinsaneuenaraeese
2. The BMS Group Controls the Published AWP for Its Products..............
3. BMS’s AWP Manipulation Benefited Providers at the Expense
Of the Class... cece ses csccececeecceseeseesesasassoserseneateseessaessecssecsuscassecesseess
4. Specific BMS AWPs Documented by the DOJ owe ceeceeereereeee
5. Other AWPs Related to VEPESID (etoposide) ...........0..00.002cccceceeeeeeeeseee
6. Other AWPs Related to Blenoxane..uw.....ecescccccecessseseccarsteesecesrsceesneneenses
7. The BMS Group Provided Free Goods and Other Incentives .................
J. Dey... eceeceeeececccececeneeesecaneceasenaescassgcscenesecassausceseanscaaccecaeseveeusaucssaspanansaseesesceense
1. Dey Has Been the Target of Government Investigations ............000........
2. Dey Controls the Published AWP for Its Products.........0.....ccccccsececseeee
3. Dey’s AWP Manipulation Benefited Providers at the Expense
OF the Class... ccc sessccscseseesceeseeceseseesessnesssusssseessunsoesecsecsasecancseseuenscesees
4 Specific Dey AWPs Documented by the DOJ..........c.cccscccsccseccsesecccecnesees
5 Inflated Dey AWPs From Dey’s Price Lists ..............ccssssecsrsecseseeseesene
6. Dey Provided Free Goods and Other Incentives.............cccccccsecececeeeceees
7 Dey Has Concealed Its AWP Manipulation _.0....... 2... cseecesesseeseeenteeee
K. The Fujisawa Group (Fujisawa Pharmaceutical, Fujisawa Healthcare,
Fujisawa USA).....ccccscscssscsssessssesesesceeesecssceessseescseeusegsessseaessaessseaeaeaesaseceneeasessceese
l. Fujisawa Has Been the Target of Government Investigations.................
AMENDED MASTER CONSOLIDATED -V-
CLASS ACTION COMPLAINT

1534. 16 0046 BSC. DOC
2. Fujisawa Controls the Published AWP for Its Products

3. Fujisawa’s AWP Manipulation Benefited Providers at the

Expense of the Class 0... ceccccceseeeceseseeccuceeesceesesesescresvevsusenacsavenes
4. Specific Fujsawa AWPs Documented by the DOJ... eseeeeceee

5. Inflated AWPs From Fujisawa Price Lists............sessesceccssesssesesstssenssess

The GSK Group (GlaxoSmithKline, SmithKline Beecham,

Glaxo Wellcome) ....0.....2.--:ccccsssesssssesssnsesessssessccsessanensenssenencasassersaenaveuavaeenaneces

1. The GSK Group H Has Been the ie Target of of Government
Investigations ... oo ceneeresseecarees

2. The GSK Group’s Definition and Understanding of AWP.....................

3. The GSK Group Controls the Published AWP for Its Products
4. The GSK Group’s AWP Manipulation Benefited Providers at

the Expense of Plaintiffs and the Class..........0..c0cccccccsusscecseeneeeseeeases
5. G)axo’s Zofran® oo ccceececeseceareeaessuceesssasacacecsesesscesteveesessanee
6. SKB’S Ky tril ooo eeeeceecseescenenacasseeeesnssacseauscatseseceseneceseeenseseneae
7. General Counsel Correspondence Between Glaxo and SKB .............
8. Other Improper Incentives ..0......eeeecseseseetessesseecstsecseascesessaeeersceeceeens

Specific GSK Group AWPs Documented by the DOJ...
Hoffiman-LaRoche .........eececcsseccecceecensccescessesencaceecanenseestenenssutessstssesessensanaesene

1. Hoffman-LaRoche Controls the Published AWP for Its Products ..........

2, Inflated Hoffman-LaRoche AWPs From Hoffman LaRoche

Case 1:01-cv-12257-PBS Document 443-2 Filed 07/28/03 Page 7 of 25

Price Lists...........ececcccesessesssnesscseesccecesenscsscasassescesengesseaseaesesensensetarsensceeecaees 137
3 Hoffman-LaRoche Provided Free Goods and Other Incentives.............- 137
TOMIMUITIEY, sees ees cesses eeneeesceceseeencatsceanenausceneeasesesasaressassuesucececeversuseusuenerensaseneass 137
1. Immunex Has Been the Target of Government Investigations................138
2. Immunex Definition and Understanding of AWP ......0......cccccseseseereneee: 138
3. Immunex Controls the Published AWP for its Products 0.0.0.0... 138
4. Immunex’s AWP Manipulation Benefited Providers at the
Expense of the Class .........eccecscccsescsescesececececeesseceeacnsceusescesesunavesssesaeuanees 139
AMENDED MASTER CONSOLIDATED -vi-
CLASS ACTION COMPLAINT

1534.16 0046 BSC_DOC
Case 1:01-cv-12257-PBS Document 443-2 Filed 07/28/03 Page 8 of 25

5. Specific Immunex AWPs Documented by the DOJ... cceeeeeeeeeeee 41
6. Inflated AWPs From Immunex Price Lists..0....00.....0.cccccssccessesceseeesese.-.--- 142
7. Immunex Concealed Its AWP Manipulation... ccc. ccceccececceceesccseeeae 142
AMENDED MASTER CONSOLIDATED - vii -
CLASS ACTION COMPLAINT

1534.16 0046 BSCDOC
The Johnson & Johnson Group (J&J, Centocor and Ortho)... eee

1. The Johnson & Johnson Group Has Been the Target of

Government Investigations -..0......0..ccccecccccececsceccessscsccareceseseusessesacstscsaces

2, J&J Concealed Its AWP Manipulation............c.0.cccccccesssseseesesvstecaeeetsecere

1. Novartis Has Been the Target of Government Investigations ........

2. Inflated Novartis AWPs From Novartis Price Lists ............0.000......

The Pharmacia Group (Pharmacia and P&U)...0......eececccecesseneesaeseeesenses

1. The Pharmacia Group Has Been the Target of Government
IMVESTIQATIONS «eee ceeeeeeeeeeeetsececesctcesecoeestacseeesescneesenesenesaeeasaneas

2. Pharmacia’s Definition and Understanding of AWP.........0..00..cs.seeeee

3. The Pharmacia Group Controls the Published AWP for

Tts PrOGucts 0... cece cceceeeeeenetasteccececesceeeeceaeeseeseescseateeuausnasavererens
4. The Pharmacia Group’s AWP Manipulation Benefited

Providers at the Expense of the Class .........-..ssccsscessssseessccesececeeeeeee
5. Specific Pharmacia AWPs Documented by the DOJ .........ee
6. Inflated Pharmacia AWPs From Pharmacia’s Price Lists ..............

7. The Pharmacia Group Provided Free Goods and Other Incentives

The Schering-Plough Group (Schering-Plough and Warrick).....0...cccccccessec

I, The Schering Plough Group Has Been the Target of Government

Case 1:01-cv-12257-PBS Document 443-2 Filed 07/28/03 Page 9 of 25

INVeStigatOms o.oo... eee c cscs eeeseeeeeeceeeensneeecesesarstatetesessasansseneanseccenes sete 163
2. The Schering Plough Group C Controls the Published AWP for
Its Products... ssssatnecessenersenes LOA
3. The Scherimg Plough Group’s AWP Manipulation Benefited
Providers at the Expense of the Class ..........cccccsssssseseeescccccsasceseseerenseecuees 165
4, The DOJ Specifically Documented AWP Inflation for
Albuterol Sulfate... eee ceeceececeeeeeeeceeesesesenstcassceseasenccecansssesresavenees 167
3. The Schering Plough Group Provided Free Goods and Other
TI COMTIVES «oes eee ceeeesecee cea cceceeccecenececaseussensensacnesesensensscacstcdscessseseseesseese 168
AMENDED MASTER CONSOLIDATED - viii -
CLASS ACTION COMPLAINT

1534.16 0046 BSC DOK
Case 1:01-cv-12257-PBS Document 443-2 Filed 07/28/03 Page 10 of 25

T. The Sicor Group (Sicor, Gensia and Gensta Sicor) ...0....0...cccccscessessseesceccceeeeeseeees

1. The Sicor Group Has Been the Target of Government

Investigations ..........ccccscesssescssscccesscocseseonsesessseseessnsessneaersveasasestsreerenscaeeeess
2. The Sicor Group Controls the Published AWP for Its Products..............
3. The Sicor Group’s AWP Manipulation Benefited Providers at

the Expense of the Class ..o0........ccccsccsscsevscsecsovevecerseceaceessvsecaneccseaceeecsens
4. Specific Sicor Group AWPs Documented by the DOJ... eee
5. Inflated Sicor Group AWPs From the Sicor Group’s Price Lists............
6. The Sicor Group Provided Free Goods and Other Incentives .................

U. TAP «ne cecsesserseeseeetecssstansecessnscesocsessevaveussaussansqacsnsensensesssseessseassseseensececessseasenavanere

1. TAP Has Been the Target of Government Investigations ...............0:.000
2. TAP Controls the Published AWP for Its Products ............cccssseeeee
3. TAP’s AWP Manipulation Benefited Providers at the Expense

Of the Class... cecsscsseesssecsssscneessecscessutscnsaesscececsnscseeeqeccetaeseavseeeevaneaes
4, TAP Provided Free Goods and Other Incentives..........000....0cceseeseeeeeee
5. TAP Concealed Its AWP Manipulation. ...........eescccecesesseseceecceceeeececteeees
Wats «0... cece cee re eeeecaeteesescueenesesessseeeesessacsccocseaueesaeaasuveveussacansentecececesesseeeeeees
l. Watson Has Been the Target of Government Investigations...................
2. Watson’s Definition and Understanding of AWP. ........:.c:ccccccssssceseescoees
3. Watson Controls the Published AWP for Its Products ...................2-0000
4. Watson’s AWP Manipulation Benefited Providers at the

Expense of the Class ....0...ceccecsccseesscssssesesesesceseeseesseccseauerersesteserevenseeeanes
5. Specific Watson AWPs Documented by the DOJ oo... eee ceeeeeeceeeeee
6. Inflated Watson AWPs From Watson’s Price Lists.........-.....2-0-sccs:cseeeres
7. Watson Provided Free Goods and Other Incentives .............ssscccceseseeee
8. Watson Concealed Its AWP Manipulation ..............:.cccccscesscsnsessserersevenes

AMENDED MASTER CONSOLIDATED - ix -
CLASS ACTION COMPLAINT

1534.16 0046 BSC. DOC
Case 1:01-cv-12257-PBS Document 443-2 Filed 07/28/03 Page 11 of 25

VI. DIRECT DAMAGE SUSTAINED BY PLAINTIFFS AND THE MEMBERS

OF THE AWP CLASS oc. cccccestsceccssesssessseeesesecassescsccesessavsetesseresansnsnssreeseesssasseavevess

VI. CERTAIN DEFENDANTS USE AWP TO ENGAGE IN A SCHEME TO

FIX PRICES — THE TOGETHER CARD SCHEME ......c.cccccceccceccceccceceeessecessecsssene.

A. The Formation of the Together Card Comspiracy 2000... cceececccccosecoeseeeseceseee

B. The Drug Discount Card Response to the Lack of Medicare Drug

Coverage and the Underpinnings of the Together Card Scheme....................
1. GSK Orange Card oo... eee es eseccceseeseeeenscseseseccareatecessusnseueusescaneceeees
2. Novartis Care Card -.....tceeessssescsccetscesecsecesesvensesesensccesecsssevscecenesnerasee
Cc. Implementation of the Together Rx Card Program ..............csscsssescseseseeessees
Marketing of the Together Card Program...........0...0..cc.cscccsesssesesassesesencecacsencacecoes

E. The Together Card Defendants’ Conspiracy to Fix the AWP Spread

of the Together Card Drugs ...0.........---csseceseesescsesssscscseseseccessecssseavseeesesersnsesens
VI. CLASS ACTION ALLEGATIONS FOR THE AWP PAYOR SCHEME............-.-.
IX. CLASS ACTION ALLEGATIONS FOR THE TOGETHER CARD SCHEME......

COUNT I VIOLATIONS OF 18 U.S.C. § 1962(c) (AGAINST DEFENDANT DRUG
MANUFACTURERS IDENTIFIED HEREIN FOR UNLAWFUL CONDUCT

ASSOCIATED WITH MEDICARE PART B COVERED DRUGS)......0.......000c00-0

COUNT II VIOLATIONS OF 18 U.S.C. § 1962(c) (AGAINST DEFENDANT

DRUG MANUFACTURERS IDENTIFIED HEREIN)... ....eccsecccesccceceececeeeeeeeees

COUNT OI DECLARATORY AND OTHER RELIEF PURSUANT TO

28 U.S.C. §§ 2201, 2002s csceeecesesenseceassescesavesseacserescsescecsescnereseenseseeeesuentaeess

COUNT V CLAIM FOR INJUNCTIVE RELIEF UNDER SECTION 16 OF
THE CLAYTON ACT ARISING FROM THE TOGETHER CARD

CONSPIRACY 0.0 -essecce cscs csesessesesseeseenevesacseoeseesensasnesearseeessesesesssavensnsnsaeenstsnsesevereees

COUNT VI_ CLAIM FOR VIOLATION OF SHERMAN ACT, 15 U.S.C. § 1

ON BEHALF OF NATIONWIDE END PAYOR TOGETHER CARD CLASS......

COUNT VII CLAIM FOR VIOLATION OF THE ANTITRUST STATUTES OF
THE INDIRECT PURCHASER STATES ON BEHALF OF INDIRECT

PURCHASER STATES END PAYOR TOGETHER CARD CLASS .......eececeteeeeee

AMENDED MASTER CONSOLIDATED -x-
CLASS ACTION COMPLAINT

1334.16 0046 BSC.DOC
Case 1:01-cv-12257-PBS Document 443-2 Filed 07/28/03 Page 12 of 25

COUNT VIIL VIOLATIONS OF 18 U.S.C. § 1962(c)-{d) (AGAINST THE
TOGETHER CARD DEFENDANTS FOR UNLAWFUL CONDUCT
ASSOCIATED WITH TOGETHER RX) .00...cccecsccsesstecessssvessessessesseseesusavasetesessesneseessee

COUNT IX CIVIL CONSPIRACY (AGAINST ALL DEFENDANTS IDENTIFIED
HEREIN FOR CONSPIRING WITH PBMS) .............c.--::ssescsesssscsssesssssessessnecseeneessnsasen

COUNT X CIVIL CONSPIRACY (AGAINST THE TOGETHER CARD
DEFENDANTS)... ccccccecececcsssseesenssseecssessessesssasssesessenssessteesucsuesacssssesveecanseseceesuearenesseses

X. PRAYER FOR RELIEF 0.0... esscseesesssceseseesessenesecseseestscecsrseauersansaestsnecevsesecatatstecentacsness
XI. DEMAND FOR JURY TRIAL ooo cececcesceeseescsnesecccecevecessavavecsecesvaesusesenstestansssiesestacecs

AMENDED MASTER CONSOLIDATED -xi-
CLASS ACTION COMPLAINT

1534.16 0046 BSC_DOC
Case 1:01-cv-12257-PBS Document 443-2 Filed 07/28/03 Page 13 of 25

Plaintiffs, by and through their counsel, upon personal knowledge as to their own acts
and beliefs, and upon information and belief as to ali other matters based upon the investigations

of counsel, allege as follows:

I. INTRODUCTION

1, This case is brought by Plaintiffs as a proposed class action on behalf of
consumers, self-insured employers, health and welfare plans, health insurers and other end
payors for prescription drugs (the “Class”) against certain pharmaceutical companies (referred to
as the “Defendant Drug Manufacturers”).

2. For the last decade, the Defendant Drug Manufacturers have conspired with
others in the pharmaceutical distribution chain, including but not limited to physicians and
hospitals (hereafter “medical providers” or “providers”), pharmacy benefit managers (“PBMs”)
and various publishing entities, to collect inflated prescription drug payments from Plaintiffs and
the Class.

3. More specifically, the Defendant Drug Manufacturers report to trade publications
a drug price — the Average Wholesale Price (or “AWP”) — that for many drugs is deliberately set
far above the prices that these drugs are available in the marketplace. The AWPs for these drugs
are deliberately false and fictitious and created solely to cause Plaintiffs and the Class members
to overpay for drugs. Because all drugs administered under Medicare Part B are priced based on
the published AWPs, the Defendant Drug Manufacturers inflate AWP reimbursement rates to
enable providers and others to make secret profits through overcharges to patients, their insurers
and other end payors. This, in tum, motivates the providers to sell and administer the drugs with
the most inflated AWPs, resulting in increased market share and profit for the Defendant Drug
Manufacturers and inflated payments for drugs by individual patients (through co-pays or direct
payments), health plans and insurers.

AMENDED MASTER CONSOLIDATED -l-
CLASS ACTION COMPLAINT

1534.16 0046 BSC. DOC
Case 1:01-cv-12257-PBS Document 443-2 Filed 07/28/03 Page 14 of 25

4. For drugs reimbursed by Medicare Part B (which generally, but not always,
require administration in a provider’s office), the health care providers administer the drugs and
are reimbursed by Medicare based on the inflated AWP. Thus, the providers benefit by
pocketing the “spread” between the AWP and the actual cost that they pay for the drugs, and the
Defendant Drug Manufacturers benefit by increasing the sales of their drugs that are covered by
Medicare Part B (“Covered Drugs”) and by increasing their market share. In some cases, the
Defendant Drug Manufacturers also provide chargebacks, rebates, hidden price discounts and/or
other unlawful financial inducements, including free samples, to further increase the provider’s
spread and, therefore, their incentive to prescribe a particular Defendant Drug Mamufacturer’s
product. Those discounts are not used by the Defendant Drug Manufacturers in calculating the
published AWPs, resulting in their inflation.

5. The use of AWP is not limited to Medicare reimbursement. Rather, AWP is a
benchmark from which hundreds of drug prices are derived in transactions throughout the
pharmaceutical distribution chain. For “Part B covered drugs” administered outside of the
Medicare Part B context, non-Medicare patients and hea)th plans pay for these drugs based on
the inflated AWP with an intermediary (for example, a pharmacy benefit manager) pocketing the
“spread” between the AWP and the actual cost that the intermediaries pay for these drugs. And
similar to the benefit that the Defendant Drug Manufacturers obtain through the AWP scheme
for Part B drugs, the Defendant Drug Manufacturers also benefit from the AWP scheme with
Tespect to these drugs by increasing the sales of their particular AWP-inflated drugs and their
market share for those drugs. The use of AWP as a benchmark for reimbursement is also not
limited to Part B drugs being administered outside of Medicare, but extends to other drugs as
well. And again, with respect to these non-Part B drugs, it is the end payor, be it a health plan or

private insurer, that pays the inflated amount. AI others in the distribution chain, be they

AMENDED MASTER CONSOLIDATED -2-
CLASS ACTION COMPLAINT

(534,16 00466 BSC_DOC
Case 1:01-cv-12257-PBS Document 443-2 Filed 07/28/03 Page 15 of 25

wholesalers, pharmacies or pharmacy benefit manufacturers, benefit from the spread between
AWP and actual costs.

6. Thus, in a perversion of the type of competitive behavior expected in a market not
subject to illegal manipulation, the Defendant Drug Manufacturers often promote their drugs not
based on lower prices, but by the use of rembursement rates based on a fictitious and inflated
AWP that allows purchasers and intermediaries (including providers and PBMs) to make inflated
profits — and the Defendant Drug Manufacturers to increase their market share -- at the expense
of Plaintiffs and the Class. The Class, as further defined below, consists of all purchasers of
drugs whose AWPs were inflated (“A WP End Payor Class”).

7. The Defendant Drug Manufacturers also caution providers and other
intermediaries that the success of the high profit scheme will be jeopardized if anyone discloses
the significantly lower prices actually paid for the drugs (allowing the scheme to be concealed
and to continue}. All Defendants actively conceal, and caused others to conceal, mformation
about the true pricing structure for the prescription drugs, including the fact that the AWPs for
the drugs are deliberately overstated. And, all those in the distribution chain also conceal the
rebates, free samples, educational grants and other economic rewards which they receive, but
which are not reflected in calculating AWP.

8. The harm flowing from the misuse of the AWP does not stop with the
aforementioned scheme. As detailed herein, in a new section of the Complaint, certain of the
Defendants used these AWPs for an additional purpose, as part of a scheme and unlawful
agreement to fix the AWP spread of drug prices under the guise of offering seniors a discount on
their drugs. Thus, in new sections of the Complaint, plaintiffs charge certain pharmaceutical
manufacturers with price fixing in violation of Section 1 of the Sherman Act, 15 U.S.C. § 1, and
in violation of applicable state antitrust and consumer protection laws. These certain defendant

manufacturers (identified below as the “Together Card Defendants”) participate in the “Together

AMENDED MASTER CONSOLIDATED -3-
CLASS ACTION COMPLAINT

1534.16 0046 BSC DOC
Case 1:01-cv-12257-PBS Document 443-2 Filed 07/28/03 Page 16 of 25

Rx Card Program” (“Together Rx”), a drug discount card program commenced in 2002 that
ostensibly makes available a single drug discount card to elderly poor Americans to enable them
to obtain substantial discounts for approximately 170 brand name and generic drugs.

9. In fact, the Together Card Defendants have not offered bona fide discounts off of
bona fide prices, but instead used the Together Rx Card Program to raise, fix and maintain the
end payor reimbursement rates, costs and margins for scores of their popular drugs. The
Together Card Defendants conspired and agreed to restrain trade both by agreeing to increase the
AWP for scores of drugs that were part of the Together Rx Card Program, and by increasing the
related “spread,” between the AWP and the posted wholesale acquisition cost or “WAC” for
those drugs.

10. The Together Card Defendants have caused widespread damage. As to about
one-half million Together Rx Card enrollees, the Together Card Defendants gave with one hand
but secretly took with another, duping them with the belief that they were receiving real
discounts off real prices when in fact they had agreed to raise their AWPs prior to
commencement of the Together Rx Card Program. Thus the actual prices paid by these
consumers is higher than what they would have paid but for this conspiracy. As to the broader
public of prescription drug end payors (such as self-insured employers, health plans and
consumers who reimburse or pay for their drugs based upon the average wholesale price), and
who were purchasing drugs covered by the Together Rx Card outside of that program, by
agreeing to raise AWPs, the Together Card Defendants caused hundreds of millions of dollars of
unlawfully imposed expenditures.

11. _ In response to the Court’s Order on the motion to dismiss, plaintiffs have prepared
a list of each of the specific drugs that are the subject of the claims herein. This list is attached as
Exhibit A to the Complaint. The drugs identified in Exhibit A will be referred to herein as the
AWP Inflated Drugs (“AWPID” or “AWPIDs”). And, in Appendix A, plaintiffs identify the

AMENDED MASTER CONSOLIDATED -4.
CLASS ACTION COMPLAINT

1534.16 6046 BSC.DOC
Case 1:01-cv-12257-PBS Document 443-2 Filed 07/28/03 Page 17 of 25

AWP that is the subject of this Complaint for each drug currently at issue pursuant to this
Court’s Order. Appendix B details which AWPIDs were purchased by each plaintiff.

12. Count I of the Complaint is asserted on behalf of a class of all persons or entities
who purchased or were reimbursed for an AWPID during the class period (“the AWP Payor
Class”) and asserts claims under 18 U.S.C. § 1962(c) for violating RICO. In this Count,
plaintiffs claim that the Defendant Drug Manufacturers engaged in an illegal pattern of
racketeering wherein each manufacturer formed a separate association-in-fact enterprise with
each of the companies that published their inflated AWPs, and that each manufacturer conducted
the affairs of each such enterprise. Infra at 208.

13. In Count II of the Complaint, plaintiffs on behalf of the AWP End Payor Class
assert claims under 18 U.S.C. § 1962(c) against the Defendant Drug Manufacturers alleging that
they engaged in a pattern of racketeering via each manufacturer’s separate association-in-fact
enterprise with each of the four major pharmacy benefit manufacturers (“PBMs”), and that each
manufacturer conducted the affairs of its PBM enterprises. Infra at 239.

14. Count II is asserted by the AWP End Payor Class and seeks declaratory relief
dectaring the AWP practices described herein to be illegal. Jnfra at 269.

15. Count IV is brought by the AWP End Payor Class on behalf of consumers
alleging that the AWP inflation scheme violates the consumer protection laws of various states.
Infra at 267.

16. Count V is brought on behalf of a Nationwide End Payor Together Card Class
(further defined below) and seeks declaratory and injunctive relief under Section 16 of the
Clayton Act. Count V seeks, among other things, a judgment: (i) adjudicating and declaring that
the Together Card Defendants have violated Section ft of the Sherman Act by unlawfully raising
and maintaining the applicable reimbursement price, or average wholesale price, in relation to

the wholesale acquisition cost to create an increased “‘spread,” (ii) enjoining the Together Card

AMENDED MASTER CONSOLIDATED -5-
CLASS ACTION COMPLAINT

1534.16 0046 BSC.DOC
Case 1:01-cv-12257-PBS Document 443-2 Filed 07/28/03 Page 18 of 25

Defendants from failing to reverse the increased rates and spread margins imposed by them
during the conspiracy period, (iii) enjoining them from failing to disclose fully and accurately the
true Together Rx Card discounts available to Together Rx Card enrollees; and (iv) otherwise
requiring the Together Card Defendants to cease and desist from further violations of the
applicable laws. Infra at 272.

17. Count VJ is brought by the Nationwide End Payor Together Card Class pursuant
to Section 1 of the Sherman Act, and seeks damages for the artificial inflation in the AWP of
Together Card Drugs as a result of the Together Card Defendants restraint of trade. Infra at 273.

18. Count VII is brought by the Indirect Purchaser States End Payor Together Card
Class for payors in states that have “indirect purchaser statutes,” and is brought as an alternative
count to Count V, on behalf of those who paid inflated prices for Together Card Drugs whose
prices were artificially inflated as a resuit of the Together Card Defendants restraint of trade.
Infra at 275.

19. Count VIII is brought by the Nationwide End Payor Together Card Class under
RICO, alleging that the Together Card Defendants conducted the affairs of an enterprise they
created and controlled, Together Rx, LLC, through a pattern of racketeering. The effect of this
conduct was to injure all those who purchased drugs that were part of the Together Rx Card
program. Infra at 279.

20. Count IX is brought by the AWP End Payor Class against various Defendant
Drug Manufacturers for engaging in a series of separate civil conspiracies with each of the
pharmacy benefit manufacturers to artificially inflate AWPs. infra at 284.

21. Count X is brought by the Nationwide End Payor Together Card Class asserting a

civil conspiracy claim against the Together Card Defendants. Infra at 295.

AMENDED MASTER CONSOLIDATED -§-
CLASS ACTION COMPLAINT

1534.16 0046 BSC.DOC
Case 1:01-cv-12257-PBS Document 443-2 Filed 07/28/03 Page 19 of 25

il, JURISDICTION AND VENUE

22. This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because
this action arises under the laws of the United States, 18 U.S.C. § 1964(c), and because this
action alleges violations of the Racketeer Influenced and Corrupt Organizations Act (“RICO”),
18 U.S.C. §§ 1961-1968. This Court also has subject matter jurisdiction under 15 U.S.C. § 1.
The Court also has diversity jurisdiction on Counts IX and X pursuant to 28 U.S.C. § 1332(a) as
there is diversity between plaintiff Board of Trustees of Carpenters and Millwrights of Houston
and Vicinity Welfare Trust Fund and each Defendant, and the amount in controversy exceeds
$75,000. Those claims are asserted only on behalf of this plaintiff as the named plaintiff.

23. The Court has supplemental jurisdiction over the state Jaw claims pursuant to 28
U.S.C. § 1367. To the extent necessary, the District Court should retain jurisdiction over all
parties pursuant to 28 U.S.C. § 1367 as the claims against all parties are related to the claims
upon which original jurisdiction is based.

24. A substantial part of the events or omissions giving rise to the claims in this
action occurred in this judicial District, and Defendants may be found within this judicial
District. Venue is proper in this jurisdiction under 28 U.S.C. § 1391 and 18 U.S.C. § 1965.
Defendants implemented their fraudulent marketing scheme in this District, as well as
nationwide, through providers and sales representatives who reside or transact business in this
District and thereby affected Class Members, who similarly reside or transact business in this
District.

25. The Judicia] Pane] on Multidistrict Litigation has, by Order dated April 30, 2002,
ordered all related cases in the Jn re: Pharmaceutical Industry Average Wholesale Price
Litigation, MDL Docket Number 1456, transferred to the District of Massachusetts for

coordinated or consolidated pre-trial proceedings.

AMENDED MASTER CONSOLIDATED -7F~-
CLASS ACTION COMPLAINT

1934.16 0046 BSC.DOC
Case 1:01-cv-12257-PBS Document 443-2 Filed 07/28/03 Page 20 of 25

Ill. PARTIES
A. Plaintiffs

26. _ Plaintiff Board of Trustees of Carpenters and Millwrights of Houston and Vicinity
Welfare Trust Fund (“CMH”) is an employee welfare benefit plan and employee benefit plan
established and maintained pursuant to Section 302(c)(5) of the Labor Management Relations
Act (“LMRA”), 29 U.S.C. § 186(c)(5), and as defined by §§ 1002(1) and (3) of the Employee
Retirement Income Security Act (“ERISA”), 29 U.S.C. § 1001, ef seq., for the purpose of
providing health benefits to eligible participants and beneficiaries. As such, CMHV is a legal
entity entitled to bring suit in its own name pursuant to 29 U.S.C. § 1132(d). CMHV maintains
its principal place of business at 9555 West Sam Houston Parkway South, Suite 400, Houston,
Texas. During the Class Period, Carpenters Welfare Trust Fund has been billed for and paid
charges for Covered Drugs and otherwise made payments for drugs outside of the Medicare Part
B context based on published AWPs. These drugs are identified in Appendix B.

27. Plaintiff Teamsters Health & Welfare Fund of Philadelphia and Vicinity
(“THWF”) is an employee welfare benefit plan and employee benefit plan established and
maintained pursuant to Section 302(c)(5) of the LMRA, and is an employee welfare benefit plan
established and maintained pursuant to §§ 1002(1) and (3) of ERISA, for the purpose of
providing health benefits to eligible participants and beneficiaries. As such, THWF is a legal
entity entitled to bring suit in its own name pursuant to 29 U.S.C. 1132(d). THWF maintains its
principal place of business at Fourth & Cherry Streets, Philadelphia, Pennsylvania 19106. It
provides comprehensive health coverage for over 28,000 participants and beneficiaries in parts
of Pennsylvania, New Jersey and Delaware. During the Class Period, THWF has been billed for
and paid charges for AWPIDs. THWF also made payments for drugs outside of the Medicare
Part B context based on published AWPs. All drugs covered by this Complaint purchased by

this plaintiff are identified in Appendix B.

AMENDED MASTER CONSOLIDATED ~-8-
CLASS ACTION COMPLAINT

1534.16 00465 BSC DOC
Case 1:01-cv-12257-PBS Document 443-2 Filed 07/28/03 Page 21 of 25

28. Plaintiff Twin Cities Bakery Workers Health and Welfare Fund (“TCBW”) is a
jointly administered Taft-Hartley Fund established and maintained pursuant to Section 302(c)(5)
of the LMRA, and is an employee welfare benefit plan established and maintained pursuant to
ERISA, for the purpose of providing health benefits to eligible participants and beneficiaries.
TCBW maintains its principal place of business in Eagan, Minnesota. As such, TCBW is a legal
entity entitled to bring suit in its own name pursuant to 29 U.S.C. § 1132(d). TCBW provides
health benefits, including prescription drug benefits, to approximately 2000 active participants,
and their spouses and dependants. During the Class Period, TCBW has been billed for and paid
charges for AWPIDs. TCBW also made payments for drugs outside of the Medicare Part B
context based on published AWPs. The dmgs purchased by TCBW at issue in this litigation are
identified in Appendix B.

29. Plaintiff United Food and Commercial Workers Unions and Employers Midwest
Health Benefits Fund (“UFCW”) is an employee welfare benefit plan and employee benefit plan
maintained pursuant to Section 302(c)(5) of the LMRA, and is an employee welfare benefit plan
established and maintained pursuant to ERISA, for the purpose of providing health benefits to
eligible participants and beneficiaries. UFCW maintains its principal place of business in Cook
County, Ilimois. During the Class Period, UFCW has been billed for and paid charges for
AWPIDs, including: Abbott’s sodium chioride, gentamicin sulfate, furosemide, heparin lock
flush and dextrose; Baxter’s sodium chloride and dextrose; Bedford’s leucovorin calcium;
Sicor’s leucovorin calcium; Pharmacia’s methylprednisolone sodium; Braun’s sodium chloride;
Aventis’ Furosemide; Immunex’ leucovorin calcium and Johnson & Johnson’s Remicade.
UFCW also made payments for drugs outside of the Medicare Part B context based on published
AWPs. All of UFCW drugs that are at issue in the Compiaint are identified in Appendix B.

30. Plaintiff Philadelphia Federation of Teachers Health and Welfare Fund

(“PFTHW”) is a voluntary employee benefits plan organized pursuant to § 501(c) of the Internal

AMENDED MASTER CONSOLIDATED -9-
CLASS ACTION COMPLAINT

1334.16 0086 BSC.DOC
Case 1:01-cv-12257-PBS Document 443-2 Filed 07/28/03 Page 22 of 25

Revenue Code for the purpose of providing health benefits to eligible participants and
beneficiaries. PFTHW maintains its principal place of business in Philadelphia, Pennsylvania.
PFTHW provides health benefits, including prescription drug benefits, to approximately 20,000
active participants, and their spouses and dependents. During the class period, PFTHW has been
billed for and paid charges for covered drugs and otherwise made payments for drugs outside of
the Medicare Part B context based on published AWPs. These drugs are identified in

Appendix B.

31. Plaintiff Man-U Service Contract Trust Fund (“Man-U Service Fund”) is a trust
fund established and maintained pursuant to Section 302(c)(5) of the Labor Management
Relations Act, 29 U.S.C. § 186(c)(5), and is an employee benefit plan established and maintained
pursuant to the Employee Retirement Income Security Act, 29 U.S.C. § 1001, et seq., for the
purpose of providing health benefits, including prescription drug coverage, to eligible
participants and beneficiaries. The Man-U Service Fund maintains its principal place of business
at 4600 Powder Mill Road, Suite 100, Beltsville, Maryland 20705. The Manu-U Service Fund
provides comprehensive health coverage, including prescription drug coverage, for
approximately | ,200 participants and beneficiaries located in Maryland, Delaware, Virginia,
North Carolina, Pennsylvania and Washington, D.C. Ail of Man-U Service Fund’s drugs at issue
in the Complaint are identified in Appendix B.

32, Plaintiff Vermont Public Interest Research Group (“VPIRG”) has-been Vermont’s
leading watchdog and advocacy group since 1972. It is located at 14] Main Street, Ste. 6,
Montpelier, Vermont. During the Class Period, VPIRG’s members purchased prescription
pharmaceuticals manufactured and/or distributed by the Defendant Drug Manufacturers and
made inflated payments or co-payments based in whole or in part on published AWPs, and were
injured by the illegal conduct alleged herein. For example, Ms. Elizebeth Ryan Cole of
Thetford, Vermont, an active VPIRG member, purchased the Johnson & Johnson Group’s drug

AMENDED MASTER CONSOLIDATED -10-
CLASS ACTION COMPLAINT

1534.16 0046 BSC_DOC
Case 1:01-cv-12257-PBS Document 443-2 Filed 07/28/03 Page 23 of 25

Retin-A based in whole or in part upon the published AWP and Ms. Dawn Taylor of Hinesburg,
Vermont, an active VPIRG member, purchased BMS’s drug Plavix in whole or in part based
upon Defendants’ published AWP. As an unincorporated association, VPIRG has standing to
pursue this action under Fed. R. Civ. P. 17(b)(1). WPIRG appears in this action for purposes of
seeking declaratory, injunctive and other non-monetary relief pursuant to 28 U.S.C. §§ 2201,
2202, §16 of the Clayton Act and any other applicable statute.

33. Plaintiff Wisconsin Citizen Action (“WCA”) is the state’s premiere public interest
organization with 53,000 individual members and 250 affiliate organizations. It is located at
1202 Williamson St., Suite B, Madison, Wisconsin. During the Class Period, Plaintiff's
members purchased prescription pharmaceuticals manufactured and/or distributed by the
Defendant Drug Manufacturers and made inflated payments or co-payments based in whole or in
part upon the published A WP, and were injured by the illegal conduct alleged herein. For
example, Ms. Ida Johnson of Oconomowoc, Wisconsin, and active WCA member, purchased
Pfizer’s drug Lipitor in whole or in part based upon Defendants’ published AWP. As an
unincorporated association, WCA has standing to pursue this action under Fed. R. Civ. P.
17(b)(1}. WCA appears in this action for purposes of seeking declaratory, injunctive and other
non-monetary relief pursuant to 28 U.S.C. §§ 2201, 2202, §16 of the Clayton Act and any other
applicable statute.

34. — Plaintiff New York StateWide Senior Action Council (“StateWide”) is a
grassroots membership organization made up of individual senior citizens and senior citizen
clubs from all parts of New York State. It is located at 275 State Street, Albany, New York.
During the Class Period, StateWide’s members purchased prescription pharmaceuticals
manufactured and/or distributed by the Defendant Drug Manufacturers, made inflated payments
or co-payments based in whole or in part upon published AWPs, and were injured by the illegal

conduct alleged herein. For example, Ms. Mary Jane Snyder of Clifton Park, New York, an

AMENDED MASTER CONSOLIDATED -ll-
CLASS ACTION COMPLAINT

1534, 16 0046 BSC.DOC
Case 1:01-cv-12257-PBS Document 443-2 Filed 07/28/03 Page 24 of 25

active StateWide member, purchased AstraZenaca’s drugs Prilosec and Nexium, Boehringer’s
drug Atrovent, BMS’s drug Tequin, Novartis’ drug Starlix and Schering’s drugs Clarinex and K-
Dur based in whole or in part on Defendants’ published AWPs. As an unincorporated
association, State Wide has standing to pursue this action under Fed. R. Civ. P. 17(b)(1).
StateWide appears in this action for purposes of seeking decJaratory, injunctive and other non-
monetary relief pursuant to 28 U.S.C. §§ 2201, 2202, §16 of the Clayton Act and any other
applicable statute.

35. Plaintiff Citizen Action of New York (“CANY’) is a coalition of labor, senior
citizen, women’s, student, tenant and community organizations that works with community
activists for social and economic justice. It is located at 94 Central Avenue, Albany, New York.
During the Class Period, CANY’s members purchased prescription pharmaceuticals
manufactured and/or distributed by the Defendant Drug Manufacturers, made inflated payments
or co-payments therefore based in whole or in part on published AWPs, and were injured by the
illegal conduct alleged herein. For example, Ms. Marilyn Gourley of Binghamton, New York,
an active CANY member, purchased Pfizer’s drug Zoloft based in whole or in part upon
Defendants’ published AWPs. As an unincorporated association, CANY has standing to pursue
this action under Fed. R. Civ. P. 17(b)(1). CANY appears in this action for purposes of seeking
declaratory, injunctive and other non-monetary relief pursuant to 28 U.S.C. §§ 2201, 2202, §16
of the Clayton Act and any other applicable statute.

36. Plaintiff Citizens for Consumer Justice (“CCF”) is a Pennsylvania nonprofit
umbrella organization that promotes affordable, quality health care. It is located at Architects
Building, 117 South 17th Street, Suite 311, Philadelphia, Pennsylvania. During the Class Period,
CCJ’s members purchased prescription pharmaceuticals manufactured and/or distributed by the
Defendant Drug Manufacturers, made inflated payments or copayments based in whole or in part

on published AWPs, and were injured by the illegal conduct alleged herein. For example,

AMENDED MASTER CONSOLIDATED -i2-
CLASS ACTION COMPLAINT

1534.16 0046 BSC.DOC
Case 1:01-cv-12257-PBS Document 443-2 Filed 07/28/03 Page 25 of 25

Ms. Patricia Pudyk of Aliquippa, Pennsylvania, an active CCJ member, purchased AZ’s drug
Nexium in whole or in part based upon Defendants’ published AWP. As an unincorporated
association, CCJ has standing to pursue this action under Fed. R. Civ. P. 17(b)(1). CCJ appears
in this action for purposes of seeking declaratory, injunctive and other non-monetary relief
pursuant to 28 U.S.C. §§ 2201, 2202, § 16 of the Clayton Act and any other applicable statute.
B. Defendants

37. The acts charged im this Complaint as having been done by the Defendants were
authorized, ordered, or done by their officers, agents, employees, or representatives while
actively engaged im the management of the Defendants’ business or affairs.

38. Various other individuals, partnerships, sole proprietors, business entities,
companies and corporations, presently unknown to Plaintiffs and not named as Defendants in
this Complaint, participated as co-conspirators in the violations alleged in this Complaint and
performed acts and made statements in furtherance thereof. Such unknown persons or entities
acted as co-conspirators and aided, abetted or participated with Defendants in the commission of
the wrongful acts alleged in this Complaint.

1. Abbott

39. Defendant Abbott Laboratories (“Abbott”) is an Illinois corporation with its
principal place of business at 100 Abbott Park Road, Abbott Park, Illinois. Abbott is a
diversified health care company that discovers, develops, manufactures, and markets health care
products and pharmaceuticals. Abbott’s principal businesses are global pharmaceuticals,
nutritionals, and medical products. Abbott reported revenues for the year 2000 of approximately
$13.7 billion and net eamings of $2.8 billion.

40. Abbott, one of the world’s largest pharmaceutical! companies, is in the business of
manufacturing prescription medications for clinical distribution by Medicare Plan B providers

nationwide. The drugs manufactured by Abbott and covered by Medicare Part B include, but

AMENDED MASTER CONSOLIDATED --
CLASS ACTION COMPLAINT

1534.16 0046 BSC DOT
